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FILED

IN THE UNITED STATES DISTRICT COURT DEC 0 9 2022

FOR THE NORTHERN DISTRICT OF OKLAHOMA ark CG. McCartt, Clerk
U.S. DISTRICT COURT

UNITED STATES OF AMERICA, Case No. 22-CR-115-JFH
Plaintiff,
INFORMATION
v. [21 U.S.C. §§ 841(a)(1) and
841(b)(1)(A)(viii) — Possession of
DONNIE B. PEARSON, Methamphetamine with Intent to
Distribute]
Defendant.

THE UNITED STATES ATTORNEY CHARGES:

From in or about May 2021 to in or about August 2021, in the Northern District
of Oklahoma, the defendant, DONNIE B. PEARSON, knowingly and intentionally
possessed with intent to distribute 500 grams or more or of a mixture and substance
containing a detectable amount of methamphetamine, a Schedule II controlled
substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(viii).

CLINTON J. JOHNSON
United States Attorney

eS.
DAVID A. NASAR Oe
Assistant United States Attorney

